Case 6:05-cr-60008-AA   Document 401-1   Filed 07/21/10   Page 1 of 6




                    EXHIBIT I
       Case 6:05-cr-60008-AA      Document 401-1     Filed 07/21/10    Page 2 of 6




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   Attorneys for Pirouz Sedaghaty




                          UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION

UNITED STATES OF AMERICA,               )      Case No. CR 05-60008
                                        )
             Plaintiff,                 )       DECLARATION OF
                                        )       ROBERT C. WEAVER
vs.                                     )
                                        )
PIROUZ SEDAGHATY,                       )
                                        )
             Defendant.                 )
      I, Robert C. Weaver, declare that the following statements are true to the best of

my knowledge, information and belief:

      1. I am a shareholder in the law firm of Garvey Schubert Barer, where I am the

Chair of the Litigation Group.

      2. I was an assistant United States Attorney for the District of Oregon from 1979

to 1988, and served as the Chief of the Criminal Division from 1982 to 1988. Since 1989,

PAGE 1- DECLARATION OF ROBERT C. WEAVER
        Case 6:05-cr-60008-AA      Document 401-1      Filed 07/21/10   Page 3 of 6




I have practiced in the areas of business litigation and criminal defense.

       3. Over the past 20 years, I have represented numerous individuals and

organizations who have been served with grand jury subpoenas for documents in the

District of Oregon. Subject to narrow confidential privileges, the person or entity

subpoenaed must produce all records in their possession which are included in the

language of the subpoena, whether or not such records meet the admissibility

requirements of a business record under the Federal Rules of Evidence.

       4. I have never heard of an unspoken quid pro quo stipulation agreement in this

District, or in any other District, whereby the attorney producing records pursuant to a

grand jury subpoena stipulates or is presumed to agree at trial that the records

produced are authentic business records under Federal Rule of Evidence 803(6).

       I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

       DATED this     ‘   day of July, 2010.




                                   BERT C. WEAVER, OSB No. 80135
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PAGE 2- DECLARATION OF ROBERT C. WEAVER
Case 6:05-cr-60008-AA   Document 401-1   Filed 07/21/10   Page 4 of 6




                    EXHIBIT 2
        Case 6:05-cr-60008-AA     Document 401-1      Filed 07/21/10   Page 5 of 6




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   Attorneys for Pirouz Sedaghaty




                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION

UNITED STATES OF AMERICA,                )                         Case No. CR 05-60008
                                         )
             Plaintiff,                  )      DECLARATION OF
                                         )      RONALD H. HOEVET
vs.
                                         )
PIROUZ SEDAGHATY,                        )
                                         )
             Defendant.                  )
      I, Ronald H. Hoevet, declare that the following statements are true to the best of

my knowledge, information and belief:

      1. I am a shareholder of Hoevet, Boise and Olson, PC.

      2. From 1975 to 1977, I served as a trial attorney in the Criminal Section of the

Tax Division for the U.S. Department of Justice. From 1977 to 1981 I was an Assistant

United States Attorney for the District of Oregon. I have been in private practice in

PAGE 1- DECLARATION OF RONALD H. HOEVET
        Case 6:05-cr-60008-AA      Document 401-1      Filed 07/21/10       Page 6 of 6




Portland, Oregon focusing on criminal defense since 1981.

       3. Over the past’years, I have represented numerous individuals and

organizations that have been served with grand jury subpoenas for documents in the

District of Oregon. The grand jury is an investigative body, not bound by the Federal

Rules of Evidence, and may subpoena and rely upon documents in making a charging

decision that may not be admissible at trial. When an attorney who represents a grand

jury target produces documents listed in a subpoena, the attorney does not concede

their admissibility as business records or waive any objections at trial.

       4. I have never heard of an unspoken quid pro quo stipulation agreement in this

District, or in any other District, whereby the attorney producing records pursuant to a

grand jury subpoena necessarily stipulates, or is presumed to agree at trial, that the

records produced are authentic business records under Federal Rule of Evidence 803(6).

       I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.
                   1r-4#1
       DATED this QV-’ day of July, 2010.




                                   RONALD H. HOEVET, OSB No. 75174




PAGE 2- DECLARATION OF RONALD H. HOEVET
